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                             EXHIBIT D
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                                               March 10, 2021

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 Re:    In re: National Rifle Association of American and Sea Girt LLC (“Debtors”); Objection
        to Notice of Intention to Take Oral Deposition of the Honorable Phillip Journey

 Counsel,

        We are in receipt of People of the State of New York’s (the “NYAG”) March 10, 2021
 Notice of Intention to Take Oral Deposition of the Honorable Phillip Journey (the “Notice”),
 advising of the NYAG’s intent to take the deposition of Phillip Journey tomorrow, March 11,
 2021, at 3:00 p.m.

         In the interests of judicial economy and conservation of resources, the NYAG, Ackerman
 McQueen, Inc. (“AMc”), and the Debtors (collectively with the NYAG and AMc, the “Parties”)
 agreed to certain expedited discovery procedures in connection with the NYAG’s Motion to
 Dismiss, or, in the Alternative, to Appoint a Chapter 11 Trustee [Docket No. 163] (the “NYAG
 Dismissal Motion”) and Ackerman McQueen Inc.’s Motion to Dismiss the Chapter 11 Bankruptcy
 Petition, or, in the Alternative, Motion for the Appointment of a Chapter 11 Trustee, and Brief in
 Support [Docket No. 131] (the “AMc Dismissal Motion” and, together with the NYAG Dismissal
 Motion, the “Dismissal Motions”).

        Among other things, the Parties agreed that the NYAG and AMc, as movants, would be
 permitted to conduct a maximum of seven (7) depositions of NRA witnesses, to comprise
 (1) Wayne LaPierre, (2) John Frazer, (3) Woody Phillips, (4) Craig Spray, (5) Carolyn Meadows,
 (6) Sonya Rowling, and (7) one 30(b)(6) deposition of the National Rifle Association of America
 (the “NRA”). Moreover, the Parties agreed that depositions may be noticed to occur upon at least
 seven (7) days’ notice. As Judge Journey is not included within your list of NRA witnesses and
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 you have not provided seven (7) days’ notice, the Notice violates our agreement in at least two
 respects.

         To the extent you are attempting an end-run around the Parties’ agreement by purporting
 to notice Judge Journey’s deposition in connection with not only the Dismissal Motions, but Judge
 Journey’s Motion for Appointment of Examiner [Docket No. 114] (the “Examiner Motion”) as
 well, the Notice is not authorized under Rule 9014(c) of the Federal Rules of Bankruptcy Procedure
 because the Debtors have not filed a response to the Examiner Motion, let alone an objection, and
 the Examiner Motion therefore is not a contested matter.

         Nonetheless, were the Examiner Motion to become a contested matter, the NYAG’s
 attempt to cram another deposition—one never discussed or even disclosed by you during our
 discovery conferences—into an exceptionally short discovery period would still run afoul the spirit
 of the and intent of the Parties’ agreement. Furthermore, and aside from the Parties’ agreement,
 Rule 30 of the Federal Rules of Civil Procedure, made applicable by Rules 7030 and 9014 of the
 Federal Rules of Bankruptcy Procedure, requires “reasonable written notice to every other party”
 of a deposition. FED. R. CIV. P. 30(b)(1). Providing notice on March 10 at approximately 12:55
 p.m. of a deposition to occur at 3:00 p.m. on March 11—twenty-six (26) hours—denies the Debtors
 a meaningful opportunity to cross-examine the witness and is unreasonable on its face.

         In view of the truncated notice, the Debtors intend to seek immediate relief from the
 Bankruptcy Court unless the Notice is withdrawn today or an agreement is reached. Please confirm
 today that the Notice will be withdrawn or advise of your availability for a meet and confer to
 occur this evening, March 10, 2021.

                                                  Sincerely,
                                                  GARMAN TURNER GORDON LLP

                                                  /s/ Gregory E. Garman

                                                  GREGORY E. GARMAN, ESQ.


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